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Your Honour,

My name is Cherepkova Anna, I'm a family friend and mother of two wonderful children. I want
to tell you about Vladislav Klushin , how I see him as the best father and family man I've ever
met.

Vladislav is the best and responsible father around people I know. He never missed a single
family gathering nor his children' or friends ' birthday.

As a farter of five, he took part in preparations of every of his child 's birthday parties . He comes
up with competitions and activities, makes up time plan for events. Also he decorated the house
for the party. His passion with his kids speaks about him as a reasonable and wise man. His
conversations with children helped them through life a lot. Considering the tough life of a
teenagers in our social media era, he always found right words to call everyone down and
resolve teenage problems .

Vladislav is a pet- lover. His favourite pet is a dog, they used ti spent all free time together.

Vladislav is also en eco- activist, 5 years ago we planted several spruces in the yard , now we
decorate them for Christmas. My kids grew up and we remember how we planted these trees
every year.

I'm a volunteer in orphan's house, but I asked Vladislav to keep that in secret. And he did ,
although , he helped me with volunteering a lot. He never shared it with anyone, never shared
his help and his empathy. He said that only our actions matter, not our words.

Vladislav is a caring son, treats his mother with respect and love. I love his childhood stories,
they are adorable. His big love for family is embed by his mother.

Your Honour, maybe this characteristic will help you to know Vladislav better as a person. He is
the most humble, decent man I've ever knew.

He cares about people's lives around him. He is a law abiding citizen.

With all respect,

Anna Cherepkova , Vladislav Klushin' friend.
